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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                           www.flsb.uscourts.gov
                                        CHAPTER 13 LMM PLAN (Individual Adjustment of Debts)
                                              Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                          1st Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR: Hector C Funez Amador                                            JOINT DEBTOR: Bessy P Lopez                              CASE NO.:       14-19478
 Last Four Digits of SS# xxx-xx-0518                                     Last Four Digits of SS# xxx-xx-2254

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           1,617.35 for months            1      to         8      ;
           B.       $           1,378.04 for months            9      to        10      ;
           C.       $           1,865.89 for Months           11      to       20       ;
           D.       $           1,807.56 for months           21      to        60      ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  5,025.00       TOTAL PAID $                      3,500.00
                     Balance Due       $             1,525.00 payable $ 100.00                   /month (Months          1 to      10 )
                     Balance Due       $               525.00 payable $ 52.50                    /month (Months         11 to      20 )
                         *$4,500.00 - $3,500.00 for chapter 13 bankruptcy, $1,000.00 for LMM, $525.00 Motion to Modify
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 Pnc Mortgage                                            Arrearage on Petition Date $
             3232 Nemark Dr;
             Miamisburg, OH
 Address:    45342                                                Arrears Payment           $                     /month       (Months to )
 Account No: xxxxxxxxx5190                                  LMM Regular Payment             $            1,355.61 /month       (Months 1 to 8)
 Account No. xxxxxxxxxx5190                                     Trial Modification          $            1,140.23 /month       (Months 9 to 10 )
 Account No. xxxxxxxxxx5190                                 Permanent Modification          $            1,140.29 /month       (Months 11 to 60)
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                             Description of Collateral
             Secured Creditor                                 and Value of Collateral    Interest Rate         Plan Payments Months of Payment      Total Plan Payments
                                                 $                                           0%          $                         0 To 0                             0.00
Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                    /month       (Months to                                 )      Regular Payment $
Unsecured Creditors: Pay $ 486.51 /month (Months 11 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that each year the case is
             pending the debtor(s) shall provide the trustee with their filed tax returns at the same time as the tax returns are filed
             with the Internal Revenue Service or other taxing agency and shall provide the trustee with verification of their
             disposable income.

             The Debtor has filed a Verified Motion for referral to LMM with__PNC Mortgage___ (“Lender”), loan
             number__xxxxxxxxx5190__, for real property located at_1869 NW 3rd Street Miami, FL 33125__, The parties shall
             timely comply with all requirements of the Order of Referral to LMM and all Administrative Orders/Local Rules
             regarding LMM. While the LMM is pending and until the trial/interim payment plan or the permanent mortgage
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             modification/permanent payment is established by the parties, the Debtor has included a post-petition plan payment,
             absent to Court order to the contrary, of no less than 31% of the Debtor’s gross monthly income as good faith
             adequate protection payment to the Lender. All payments shall be considered timely upon receipt by the trustee and
             not upon receipt by the Lender.

             Until the LMM is completed and the Final Report of Loss Mitigation Mediator is filed, any objection to the Lender’s
             Proof of Claim on the real property described above shall be held in abeyance as to the regular payment and
             mortgage arrearage stated in the Proof of Claim only. The Debtor shall assert any and all other objections to the Proof
             of Claim prior to confirmation of the plan or modified plan.

             If the Debtor, co-obligator/co-borrower or other third party (if applicable) and the Lender agree to a settlement as a
             result of the pending LMM, the Debtor will file a Motion to Approve Loss Mitigation Agreement with Lender no later
             than 14 days following settlement. Once the settlement is approved by the Court, the Debtor shall immediately amend
             or modify the plan to reflect the settlement and the Lender shall amend its Proof of Claim to reflect the settlement, as
             applicable.

             If a settlement is reached after the plan is confirmed, the Debtor will file a motion to modify the plan no later than 30
             calendar days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of
             Claim to reflect the settlement reached after confirmation of the plan. The parties will then timely comply with any and
             all requirements necessary to complete the settlement. In the event the Debtor receives any financial benefit from the
             Lender as part of any agreement, the Debtor shall immediately disclose the financial benefit to the Court and the
             trustee and amend or modify the plan accordingly.

             If the Lender and the Debtor fail to reach a settlement, then no later than 14 days after the Mediator’s Final Report is
             filed, the Debtor will amend or modify the plan to (a) conform to the Lender’s Proof of Claim 9 if the Lender has filed a
             Proof of Claim) or (b) provide that the real property will be surrendered. If the amended or modified plan provides that
             the real property is to be surrendered, then the obligations to the Lender will be considered “treated outside the plan”
             and the Lender shall have in rem relief from the automatic stay as to the real property being surrendered.
             Notwithstanding the foregoing, Lender may file a motion to confirm that the automatic stay is not effect as to the real
             property.


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Hector C Funez Amador                                           /s/ Bessy P Lopez
 Hector C Funez Amador                                               Bessy P Lopez
 Debtor                                                              Joint Debtor
 Date:       March 23, 2015                                          Date: March 23, 2015




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